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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

___________________________________
                                   )
UNITED STATES OF AMERICA,          )
                                   )
v.                                 )               Criminal Action
                                   )               No. 16-10166-PBS
VAUGHN LEWIS,                      )
                                   )
                    Defendant.     )
___________________________________)

                        MEMORANDUM AND ORDER

                            July 11, 2017

Saris, C.J.

                             INTRODUCTION

     Defendant Vaughn Lewis, charged with drug trafficking,

moves to suppress all items seized from 7 Raintree Lane,

Apartment 7F, Brockton, Massachusetts, and the storage closet

located at the Raintree apartment building and all fruits

thereof. Defendant argues that the search warrant, on its face,

lacked probable cause to believe that any contraband would be

located at 7 Raintree Avenue as there was no nexus between any

of the alleged activity and that address. Additionally,

Defendant argues that any allegations in the search warrant

affidavit were stale since all of the observations were made at

least three weeks, if not several months, prior. Finally,

Defendant contends the search of the storage closet exceeded the

scope of the search warrant.

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     A hearing was held. One witness, Carmen Depina, the lessee

of 7 Raintree Lane, Apartment 7F and Defendant’s partner,

testified at the hearing. Lewis’s Motion to Suppress, Docket No.

198, is DENIED.

                           FINDINGS OF FACT

I.   The Investigation

     In October 2015 authorities began an investigation into a

drug trafficking organization in Brockton, Massachusetts.

Specifically investigators believed that Luis Rivera was running

a conspiracy to distribute and distribution of cocaine and crack

cocaine.

     Two cooperating witnesses identified Rivera to authorities.

Investigators conducted multiple controlled purchases from

Rivera totaling over 150 grams of cocaine and 30 grams of

cocaine base. Authorities obtained a warrant to tap Rivera’s

cell phones. Based on these intercepted communications, Vaughn

Lewis was identified as an individual who purchased distribution

quantities of drugs from Rivera. Investigators were able to

identify two locations used by Rivera to distribute cocaine and

cocaine base to his customers including 25 Columbia Street,

Apartment 1R, Brockton, Massachusetts. Surveillance was

established at these locations. Investigators observed Lewis

meet with Rivera at 25 Columbia Street on two occasions to be

supplied with drugs.

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     On February 22, 2016, Lewis contacted Rivera in an attempt

to purchase 62 grams and 14 grams of cocaine. Rivera told Lewis

to meet him “where you seen me last” to conduct the deal. Based

on information learned in the intercepted communications,

investigators set up surveillance at 25 Columbia Street to

observe the deal. Subsequent observations that day revealed that

Rivera engaged in what appeared to be a drug exchange at 25

Colombia Street. While the other party was unidentified, the

police observed he operated a gray 2007 Toyota Camry. This

vehicle was registered to Carmen Depina who resided at 7

Raintree Lane, Apartment 7F. Based on their surveillance,

investigators believed Lewis also resides at 7 Raintree Lane,

Apartment 7F.

     Four days later on February 26, 2016, communications

between Rivera and Lewis suggested they were going to engage in

another drug deal. Rivera texted Lewis that he was “Gucci with

some fire.” Based on these communications, surveillance was set

up to observe Rivera, at 25 Columbia Street, and Lewis, at 7

Raintree Lane, prior to the deal. Pursuant to this surveillance,

investigators observed Lewis enter a black 2010 Nissan outside 7

Raintree Lane. This car was registered to Carmen Depina at 7

Raintree Lane, Apartment 7F, Brockton, Massachusetts.

Investigators then observed Lewis, driving the black Nissan,



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meet with Rivera at 25 Columbia Street. They appeared to engage

in a drug deal.

     On March 7, 2016, in an intercepted call between Rivera and

Lewis, Lewis told Rivera he still owed Rivera money and that “he

hadn’t been running around like that” because he was working ten

hour days. But, Lewis also stated that he was “about to kick it

up again” and that he “needs Sobos.” Investigators interpreted

this to mean suboxone, a controlled substance used to treat pain

and addiction to narcotics.

     On May 17, 2016, approximately three weeks before the

search warrant was issued, Lewis was seen dealing crack cocaine

and heroin by Brockton police officers. The police officers

observed the black 2010 Nissan engage in two separate drug

transactions in a parking lot. The officers subsequently stopped

both vehicles that had met with the person in the black Nissan,

seizing a small amount of crack cocaine from one vehicle and

both heroin and crack cocaine from the other vehicle.

Individuals from both vehicles identified Lewis as the person

who had sold them the drugs. Twenty minutes later Brockton

police officers observed the black Nissan parked in front of 7

Raintree Lane, Apartment 7F.

     Based on the above information, an affidavit in support of

a search warrant was filed on June 8, 2016. The search warrant

for 7 Raintree Lane, Apartment 7F was signed on June 8, 2016 and

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the search was executed the same day. Several items were seized

as a result of the search: a small knotted baggie which

contained a mixture of heroin and fentanyl; a loaded .38 caliber

revolver; over 30 rounds of ammunition for a .38 caliber

revolver; cocaine base (crack cocaine) in a small, knotted

baggie; paraphernalia consistent with the preparation of cocaine

base; packaging associated with drug trafficking; a scale

consistent with drug trafficking; and paperwork associated with

Lewis. The warrant return lists the following items as being

found in the storage closet: the loaded .38 caliber revolver, 31

rounds of ammunition, scales and packaging, a knotted plastic

bag of white powder, paperwork associated with Lewis, and a

black scale.

II.   7 Raintree Lane & The Storage Closet

      Carmen Depina is the registered lessee of 7 Raintree Lane,

Apartment 7F, Brockton, Massachusetts. Ms. Depina lives there

with Lewis and their child. Two cars are registered to 7

Raintree Lane, Apartment 7F in Ms. Depina’s name – a 2010 black

Nissan and a 2007 gray Toyota Camry. During their investigation,

officers observed Lewis driving the black Nissan on at least two

occasions and during the evidentiary hearing Ms. Depina

testified that she allows Lewis to use the vehicles.

      Apartment 7F is located on the second floor of an apartment

building that consists of approximately 20 other apartments, 10

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apartments per floor. To access apartment 7F, one uses an

exterior staircase. At the top of the staircase there is a small

landing with two doors adjacent to one another. One door is the

entrance to Apartment 7F and one door is the entrance to a

storage closet. The doors are located such that if the door to

the storage closet is open, it blocks the door to Apartment 7F.

While Apartment 7F and the storage closet share a wall, there is

no internal door connecting the two. There are no other units on

the landing.

     The storage closet is not part of the lease agreement for

Apartment 7F. Ms. Depina testified that she does not use the

storage closet to store any of her belongings. However, Ms.

Depina did purchase a lock for the storage closet to prevent the

door from swinging open and slamming into her front door. Ms.

Depina kept a copy of the key to the storage closet on the key

ring to her Camry and provided one copy of the key to the

apartment complex’s maintenance worker.

                              DISCUSSION

     Lewis challenges the validity of the search warrant

claiming there was insufficient probable cause to support the

search warrant issued by the magistrate judge. Specifically, he

argues that the affidavit failed to establish the nexus element

and that information relied on in the search warrant was stale.

Lewis also contends the scope of the search warrant was exceeded

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when the officers searched the storage closet located next to

Apartment 7F. Both of these arguments fail.

I.    Probable Cause Analysis

      “Prior to executing a search, police officers, with some

exceptions, must obtain a search warrant supported by probable

cause to believe that (1) a crime has been committed, and (2)

that ‘enumerated evidence of the [crime] will be found at the

place to be searched - the so-called “nexus” element.’” United

States v. Joubert, 778 F.3d 247, 251 (1st Cir. 2015) (quoting

United States v. Hicks, 575 F.3d 130, 136 (1st Cir. 2009)).

Joubert outlines the relevant nexus inquiry:

      When evaluating the nexus between the object and the
      location of the search, a magistrate judge has to make a
      practical, common-sense decision whether, given all the
      circumstances set forth in the affidavit before him, there
      is a fair probability that contraband or evidence of a
      crime will be found in a particular place. The application
      must give someone of reasonable caution reason to believe
      that evidence of a crime will be found at the place to be
      searched. The government does not need to show that the
      belief is necessarily correct or more likely true than
      false. Nexus can be inferred from the type of crime, the
      nature of the items sought, the extent of an opportunity
      for concealment, and normal inferences as to where a
      criminal would hide evidence of a crime. The reviewing
      court’s duty is simply to ensure that the magistrate had a
      substantial basis for concluding that probable cause
      existed. And in making this inquiry, we focus on the facts
      and supported opinions in the affidavit, ignoring
      unsupported conclusions.

Id.

      Here, a substantial basis existed for the magistrate’s

probable cause finding. On three separate occasions, police

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officers observed vehicles registered to Apartment 7F used in

drug deals involving Lewis. First, on February 22, 2016

communications between Rivera and Lewis suggested they were

about to engage in a drug deal for 62 grams of and 14 grams of

cocaine. Officers then observed the gray Camry, registered to

Carmen Depina at 7 Raintree Lane, meet Rivera at 25 Columbia

Street, a known stash house to the organization, and engage in

what appeared to be a drug transaction. Second, on February 26,

2016, investigators observed Lewis enter the black Nissan at 7

Raintree Lane, drive to meet Rivera at 25 Columbia Street, and

engage in what appeared to be a drug transaction. Third, on May

17, 2016, just three weeks prior to the issuance of the warrant,

Brockton police officers observed the black 2010 Nissan engage

in two separate drug transactions in a parking lot with two

vehicles. The police then stopped both vehicles. Crack cocaine

was recovered from the occupants of one vehicle and cocaine base

and heroin was recovered from the occupants of the other.

Members of both vehicles identified Lewis as the individual in

the black Nissan – a vehicle registered to 7 Raintree Lane – who

sold them the drugs. Twenty minutes later, the black Nissan was

observed parked outside 7 Raintree Lane.

     Lewis also argues the information relied upon by the

magistrate judge to establish probable cause to obtain the

search warrant was stale. Stale information may not be used to

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establish probable cause to obtain a search warrant. See United

States v. Schaefer, 87 F.3d 562, 568 (1st Cir. 1996). “Whether

or not the averments in an affidavit are sufficiently timely to

establish probable cause depends on the particular circumstances

of the case.” United States v. Hershenow, 680 F.2d 847, 853-54

(1st Cir. 1982). “Where the information points to illegal

activity of a continuous nature, the passage of several months

between the observations in the affidavit and issuance of the

warrant will not render the information stale. Id.; Andresen v.

Maryland, 427 U.S. 463, 478-79 n.9 (1976) (holding that a three-

month delay was not too long where the materials sought were

business records prepared in the ordinary course of the

defendant’s law practice or his real estate company and where

other facts supported a belief that he retained the records).

However, courts have found that “[i]n the context of drug

crimes, information goes stale very quickly because drugs are

usually sold and consumed in a prompt fashion.” Joubert, 778

F.3d at 252 (citing United States v. Brooks, 594 F.3d 488, 493

(6th Cir. 2010)).

     The information in this case, which is three weeks old, is

not stale. See United States v. Smith, 266 F.3d 902, 904-05 (8th

Cir. 2001) (information in the affidavit regarding three

controlled buys at defendant’s residence occurring three months

prior to application for search warrant was not stale); United

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States v. Hartje, 251 F.3d 771, 775 (8th Cir. 2001) (lapse of

one month between five methamphetamine transactions occurring

over the course of two months and application for search warrant

did not render information stale in light of the ongoing nature

of crimes); United States v. Formaro, 152 F.3d 768, 771 (8th

Cir. 1998) (controlled buy made two and one-half weeks before

the application for a warrant not stale). While courts have

recognized that drug information may go stale quickly, they have

also found that “it is common ground that drug conspiracies tend

to be ongoing operations, rendering timely information that

might, in other contexts, be regarded as stale.” Schaefer, 87

F.3d at 568; see also United States v. Nocella, 849 F.2d 33, 40

(1st Cir. 1988) (“By its very nature, drug trafficking, if

unchecked, is apt to persist over relatively long periods of

time.”).

     Here, only three weeks prior to the search warrant

affidavit, investigators observed Lewis engage in two drug deals

with cars in a parking lot, investigators recovered drugs from

both of the purchasers, and both of the purchasers identified

Lewis as their supplier. The car Lewis used in the deal was then

observed parked outside 7 Raintree Lane twenty minutes after the

traffic stops. This car was registered to 7 Raintree Lane.

Additionally, only three months before the search warrant

affidavit, investigators observed Lewis, who was driving the

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same identified car, a black Nissan registered to 7 Raintree

Lane, leave that address, meet Rivera, engage in what appeared

to be a drug transaction, and return to 7 Raintree Lane. This

information is not stale.

II.   The Storage Closet

      Lewis argues the storage closet was a common area not named

in the search warrant and thus evidence seized therein is

inadmissible. The government contends the search of the storage

closet was proper since it was an appurtenant structure to the

apartment. The Court assumes, without deciding, that Lewis has

standing to challenge the search of the storage closet because

he had a key to the lock. However, since the storage closet is

appurtenant to the apartment, his motion fails.

      Appurtenant structures are properly searched pursuant to a

search warrant. See United States v. Fagan, 577 F.3d 10, 13 (1st

Cir. 2009) (“So long as the officers executing the warrant have

an objectively reasonable basis, in light of the known

characteristics of the location and the evidence at hand, for

concluding that a structure is appurtenant to the premises

specified in the search warrant, that structure may validly be

searched under the purview of the warrant.”); United States v.

Principe, 499 F.2d 1135, 1137 (1st Cir. 1974) (affirming denial

of motion to suppress evidence seized from an appurtenant

cabinet noting that “officers could reasonably suppose, given

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the second floor layout and its proximity to the apartment, that

the cabinet [outside of the apartment] was appurtenant to the

apartment, as in fact it was”). “Structures that have been found

to be appurtenant to described residential premises include such

things as storage closets, cabinets, storage rooms and bins,

lockets, mailboxes, and bird houses.” Fagan, 577 F.3d at 13-14

(internal citations omitted).

     Fagan is directly on point. In Fagan, the closet that was

searched

     “was located on the third-floor landing, no more than eight
     feet from the front door of the apartment; the landing
     itself was small and led to the apartment; the spatial
     relationship between the closet and the apartment was
     intimate; the other residential units in the building were
     physically removed from both the third floor and the third-
     floor landing; and the key found in the defendant’s bedroom
     opened the padlock that secured the closet. Thus, evidence
     found in the flat quite literally opened the door to the
     closet. That combination of factors was sufficient to
     permit an objectively reasonable officer to conclude that
     the storage closet was appurtenant to the apartment and to
     search the closet under the purview of the warrant.”

Id. at 14.

     Here, the search warrant authorized the search of 7

Raintree Lane, Apartment 7F, Brockton, Massachusetts. The

apartment was described in the warrant as a two-story “side by

side apartment style property and contains one (1) apartment on

each floor.” Docket No. 215, ex. 1, p. 4. The warrant authorized

the search of “all rooms, crawl spaces, safes, briefcases,

storage areas, containers, and containers such as safes, vaults,

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file cabinets, drawers, luggage, briefcases, valises, boxes,

jewelry boxes, cans, bags, purses, and trash cans located on or

near the premises, that are owned or under the control of the

occupants of such premises.” Docket No. 215, ex. 1, p. 4.

        The storage closet that was searched was located on the

second floor landing directly next to the front door of the

apartment to be searched. The second floor landing was small and

led only to the entrance of the apartment to be searched. The

other residential units in the complex were physically removed

from Apartment 7F and its landing. The key to the storage closet

was recovered from the apartment pursuant to the execution of

the search warrant. Docket No. 215, exs. 3, 4. These factors

were sufficient to permit an objectively reasonable officer to

conclude that the storage closet was appurtenant to the

apartment and to search the closet under the warrant.

                                     ORDER

        The Court DENIES Lewis’s Motion to Suppress (Docket No.

348).

                                     /s/ PATTI B. SARIS
                                     Patti B. Saris
                                     Chief United States District Judge




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